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1                                     UNITED STATES DISTRICT COURT

2                                            DISTRICT OF NEVADA

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      BEVERLY BRANCH,
4
                            Plaintiff(s),
5                                                            2:20-cv-01246-RFB-VCF
      v.                                                     ORDER
6     DOLGEN MIDWEST, LLC,
7                            Defendant(s).
8           Before me are Dolgen Midwest, LLC’s motion to extend and motion to shorten time. (ECF Nos.
9    33 & 34).
10          Accordingly,
11          I ORDER that Dolgen Midwest, LLC’s motion to extend and motion to shorten time (ECF Nos.
12   33 & 34) are GRANTED.
13          I FURTHER ORDER that the deadlines, to file dispositive motion(s) and the proposed joint
14   pretrial order, are stayed pending further order of the court.
15          DATED this 24th day of November, 2021.
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                                                                      CAM FERENBACH
17                                                                    UNITED STATES MAGISTRATE JUDGE

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